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                      UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

DAVID BENHAM,                                 Case No.: 1:17-cv-00864
    Plaintiff,
                                              Hon. Robert J. Jonker

-vs.-

SGP HOLDING COMPANY, INC.
formerly doing business as
Allied Business Services, Inc,
a domestic profit corporation,
      Defendant.
__________________________________________________________________

                        FIRST AMENDED COMPLAINT

        NOW COMES THE PLAINTIFF, DAVID BENHAM, THROUGH

COUNSEL, CREDIT REPAIR LAWYERS OF AMERICA, BY GARY D.

NITZKIN, and for his First Amended Complaint against the Defendant, plead as

follows:



                                  JURISDICTION

   1. This is an action for damages, brought against a debt collector for violating

        the Fair Debt Collection Practices Act at 15 U.S.C. § 1692 et seq. ("FDCPA"),

        Michigan Collection Practices Act at M.C.L. § 445.251 et seq. ("MCPA") and

        the Michigan Occupational Code at M.C.L. § 339.901 et seq. ("MOC").

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                                   VENUE

 2. The transactions and occurrences which give rise to this action occurred in

    Montcalm County, Michigan.

 3. Venue is proper in the Western District of Michigan.



                                  PARTIES

 4. Plaintiff is a natural person residing in Greenville, Montcalm County,

    Michigan.

 5. The Defendant to this lawsuit is SGP Holding Company, Inc, formerly doing

    business as, Allied Collection Services, Inc., which is a domestic profit

    corporation that maintains its business and registered agent in Ottawa County,

    Michigan.



                       GENERAL ALLEGATIONS

 6. Defendant is attempting to collect several medical debts allegedly owed by

    Plaintiff to Spectrum Health Medical Group (the alleged Debts).

 7. On April 7, 2017, Mr. Benham obtained his Trans Union credit report and

    noticed Defendant reporting the alleged Debts.


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 8. On May 10, 2017, Mr. Benham submitted a letter to Defendant disputing the

    alleged Debts.

 9. On or about August 1, 2017, Mr. Benham obtained his Equifax and Experian

    credit files and noticed that Defendant failed to flag the alleged Debts as

    disputed on both credit files, in violation of the FDCPA.



     COUNT I – VIOLATION OF THE FAIR DEBT COLLECTION
                      PRACTICES ACT

 10.Plaintiff reincorporates the preceding allegations by reference.

 11.At all relevant times Defendant, in the ordinary course of its business,

    regularly engaged in the practice of collecting debts on behalf of other

    individuals or entities.

 12.Mr. Benham is a "consumer" for purposes of the FDCPA and the account at

    issue in this case is a consumer debt.

 13.Defendant is a "debt collector" under the Fair Debt Collection Practices Act

    ("FDCPA"), 15 U.S.C. §1692a(6).

 14.Defendant's foregoing acts in attempting to collect this alleged debt violated

    the following provisions of the FDCPA:

       a. 15 U.S.C. §1692e(2)(a) by misrepresenting the character, amount or

          legal status of any debt. Defendant did this when it continued to report

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            the alleged Debt on Mr. Benham’s credit files without indicating that

            he disputed the alleged Debt.

         b. 15 U.S.C. §1692e(8) by failing to communicate that a disputed debt is

            disputed. Defendant did this when it continued to report the alleged

            Debt on Mr. Benham’s credit files without indicating that he disputed

            the alleged Debt.

   15.Mr. Benham has suffered economic, emotional, general and statutory

      damages as a result of these violations of the FDCPA.



      WHEREFORE, PLAINTIFF PRAYS THAT THIS COURT grant him

damages plus costs, interest and attorneys' fees as provided by the Fair Debt

Collection Practices Act.



 COUNT II - VIOLATION OF THE MICHIGAN OCCUPATIONAL CODE

   16.Plaintiff incorporates the preceding allegations by reference.

   17. Defendant is a "collection agency" as that term is defined in the Michigan

      Occupational Code ("MOC"), M.C.L. § 339.901(b).

   18.Mr. Benham is a debtor as that term is defined in M.C.L. § 339.901(f).

   19.Defendant’s foregoing acts in attempting to collect this alleged debt violated

      the following provisions of the MOC:
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        a. MCL §339.915(q) by failing to implement a procedure designed to

           prevent a violation by an employee by ensuring that accounts disputed

           by consumers are disclosed as disputed when reporting credit

           information to the consumer reporting agencies.

  20.Mr. Benham has suffered damages as a result of this violation of the Michigan

     Occupational Code.

  21.This violation of the Michigan Occupational Code was willful.



     WHEREFORE, PLAINTIFF PRAYS THAT THIS COURT grant him

damages plus costs, interest and attorneys' fees as provided by the Michigan

Occupational Code.



     COUNT III - VIOLATION OF THE MICHIGAN COLLECTION
                        PRACTICES ACT

  22.Plaintiff incorporates the preceding allegations by reference.

  23. Defendant is a "Regulated Person" as that term is defined in the Michigan

     Collection Practices Act ("MCPA"), at MCL § 445.251.

  24.Mr. Benham is a "Consumer" as that term is defined at MCL § 445.251.

  25.Defendant’s foregoing acts in attempting to collect this debt violated the

     following provisions of the MCPA:

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        a. MCL §445.252(q) by failing to implement a procedure designed to

            prevent a violation by an employee by ensuring that accounts disputed

            by consumers are disclosed as disputed when reporting credit

            information to the consumer reporting agencies.

  26.Mr. Benham has suffered damages as a result of this violation of the MCPA.

  27.This violation of the MCPA was willful.



     WHEREFORE, PLAINTIFF PRAYS THAT THIS COURT grant him

damages plus costs, interest and attorneys' fees as provided by the Michigan

Collection Practices Act.



                               JURY DEMAND

     Plaintiff hereby demands a trial by Jury.




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                         Respectfully submitted.


December 7, 2017        /s/ Mark Linton
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